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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                                 Judge Raymond P. Moore

  Civil Action No. 13-cv-02469-RM-MJW

  RANDALL J. HATLEE and
  RONALD L. SWIFT,

          Plaintiffs,

  v.

  CINDY HARDEY,
  BOBBI PRIESTLY,
  MONTE GORE,
  FRED WEGENER, and
  ASHLEIGH OLDS,

          Defendants.


                                ORDER RE: TRIAL SCHEDULE


           This matter is currently set for a ten day jury trial beginning on February 1, 2016. (ECF

  No. 104.) In light of the claims and parties dismissed by the Court in its Orders of September 29,

  2015 and November 18, 2015 (ECF Nos. 110, 119) it is unlikely that a ten day trial will be

  necessary. It is therefore ORDERED that the parties to this case are to file submissions with this

  Court within seven days from the date of this Order explaining how many days will be needed for

  trial given the current status of this case. Submissions may be no longer than two pages in length.

       DATED this 18th day of November, 2015.

                                                       BY THE COURT:



                                                       ____________________________________
                                                       RAYMOND P. MOORE
                                                       United States District Judge
